13-50600 - #64 File 01/27/14 Enter 01/27/14 14:19:41 Main Document Pg 1 of 27
13-50600 - #64 File 01/27/14 Enter 01/27/14 14:19:41 Main Document Pg 2 of 27
13-50600 - #64 File 01/27/14 Enter 01/27/14 14:19:41 Main Document Pg 3 of 27
13-50600 - #64 File 01/27/14 Enter 01/27/14 14:19:41 Main Document Pg 4 of 27
13-50600 - #64 File 01/27/14 Enter 01/27/14 14:19:41 Main Document Pg 5 of 27
13-50600 - #64 File 01/27/14 Enter 01/27/14 14:19:41 Main Document Pg 6 of 27
13-50600 - #64 File 01/27/14 Enter 01/27/14 14:19:41 Main Document Pg 7 of 27
13-50600 - #64 File 01/27/14 Enter 01/27/14 14:19:41 Main Document Pg 8 of 27
13-50600 - #64 File 01/27/14 Enter 01/27/14 14:19:41 Main Document Pg 9 of 27
13-50600 - #64 File 01/27/14 Enter 01/27/14 14:19:41 Main Document Pg 10 of 27
13-50600 - #64 File 01/27/14 Enter 01/27/14 14:19:41 Main Document Pg 11 of 27
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13-50600 - #64 File 01/27/14 Enter 01/27/14 14:19:41 Main Document Pg 27 of 27
